     Case 2:17-bk-56551                     Doc 52
 Fill in this information to identify the case:
                                                      Filed 06/28/22 Entered 06/28/22 16:15:14                             Desc Main
                                                      Document     Page 1 of 3
 Debtor 1              Leonard James Dubois, Jr.

 Debtor 2
 (Spouse, if filing)


 United States Bankruptcy Court for the:
                                           Southern                       Ohio
                                           --------- District of (St ate)
 Case number           2:17-bk-56551




Form 4100R AMENDED
Response to Notice of Final Cure Payment                                                                                              10/15

According to Bankruptcy Rule 3002.1 (g), the creditor responds to the trustee's notice of final cure payment.



                 Mortgage Information

                                U.S. Bank, N.A., not in its individual capacity but solely as trustee Court claim no. (if known):
 Name of creditor:
                               for RMTP Trust, Series 2021 BKM-TT                                            4-1
                                                                                   6           5      3
 Last 4 digits of any number you use to identify the debtor's account:

 Property address:              101 Pleasantview Drive
                               Number       Street



                                Blacklick                 OH          43004
                               City                      State     ZIP Code




                 Prepetition Default Payments

  Check one:

  Iii   Creditor agrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor's claim.

  D     Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor's claim. Creditor asserts that the total prepetition amount remaining unpaid as of the date              $            _
        of this response is:


                 Postpetition Mortgage Payment

  Check one:

  Iii   Creditor states that the debtor(s) are current with all postpetition payments consistent with§ 1322(b)(5) of
        the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

        The next postpetition payment from the debtor(s) is due on:
                                                                                 ,01
                                                                              o7 ,2022
                                                                              MM/ DD   /YYYY

  D     Creditor states that the debtor(s) are not current on all postpetition payments consistent with§ 1322(b)(5)
        of the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

        Creditor asserts that the total amount remaining unpaid as of the date of this response is:
        a. Total postpetition ongoing payments due:                                                                        (a)   $            _
        b. Total fees, charges, expenses, escrow, and costs outstanding:                                               +   (b)   $_
        c.   Total. Add lines a and b.                                                                                     (c)   $
        Creditor asserts that the debtor(s) are contractually
        obligated for the postpetition payment(s) that first became
        due on:                                                               ''
                                                                              MM/ DD    __
                                                                                       /YYYY


Form 4100R                                            Response to Notice of Final Cure Payment                                       page 1
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Debtor 1         Leonard James Dubois, Jr.                                                    Case number    on%~2:17-bk-56551
                First Name      Middle Name               Last Name
                                                                                                                 -------------




               Itemized Payment History


  If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part 3 that the
  debtor(s) are not current with all postpetition payments, including all fees, charges, expenses, escrow, and costs,
  the creditor must attach an itemized payment history disclosing the following amounts from the date of the
  bankruptcy filing through the date of this response:
  ■      all payments received;
  ■      all fees, costs, escrow, and expenses assessed to the mortgage; and
  ■      all amounts the creditor contends remain unpaid.




               Sign Here


  The person completing this response must sign it. The response must be filed as a supplement to the creditor's
  proof of claim.

  Check the appropriate box::

   D     I am the creditor.
   Iii   I am the creditor's authorized agent.



 I declare under penalty of perjury that the information provided in this response is true and correct
 to the best of my knowledge, information, and reasonable belief.

 Sign and print your name and your title, if any, and state your address and telephone number if different
 from the notice address listed on the proof of claim to which this response applies.




               C /s/ Molly Slutsky Simons                                                     oat        06,28 ,2022
                   Signature




 Print              Molly Slutsky Simons                                                      Title      Attorney for Creditor
                   First Name                      Middle Name         Last Name



                    Sottile and Barile, Attorneys at Law
 Company


 If different from the notice address listed on the proof of claim to which this response applies:


                    394 Wards Corner Road, Suite 180
 Address
                   Number                 Street


                    Loveland                                           OH          45140
                   City                                                State       ZIP Code




 contact phone     (51@_        444      4100                                                 E fl4].1
                                                                                                         bankruptcy@sottileandbarile.com




Form 4100R                                                        Response to Notice of Final Cure Payment                                 page 2
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                          UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF OHIO
                                 COLUMBUS DIVISION

 In Re:                                         Case No. 2:17-bk-56551

 Leonard James Dubois, Jr.                      Chapter 13

 Debtor.                                        Judge Mina Nami Khorrami

                                 CERTIFICATE OF SERVICE

I certify that a copy of the foregoing Amended Response to Notice of Final Cure Payment was
served electronically on June 28, 2022 through the Court’s ECF System on all ECF participants
registered in this case at the e-mail address registered with the Court

And by first class mail on June 28, 2022 addressed to:

          Leonard James Dubois, Jr., Debtor
          101 Pleasantview Drive
          Blacklick, OH 43004

                                                Respectfully Submitted,

                                                /s/ Molly Slutsky Simons
                                                Molly Slutsky Simons (0083702)
                                                Sottile & Barile, Attorneys at Law
                                                394 Wards Corner Road, Suite 180
                                                Loveland, OH 45140
                                                Phone: 513.444.4100
                                                Email: bankruptcy@sottileandbarile.com
                                                Attorney for Creditor
